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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

V. Case No. 21-cr-175-TJK-1

ETHAN NORDEAN,
Defendant.

CABLE NEWS NETWORK, INC., AMERICAN
BROADCASTING COMPANIES, INC. d/b/a

ABC NEWS, THE ASSOCIATED PRESS,
BUZZFEED, INC. d/b/a BUZZFEED NEWS,

CBS BROADCASTING INC. 0/b/o CBS NEWS,
DOW JONES & COMPANY, INC., publisher of
THE WALL STREET JOURNAL, THE E.W.
SCRIPPS COMPANY, GANNETT CO., INC.,
GRAY MEDIA GROUP, INC., LOS ANGELES
TIMES COMMUNICATIONS LLC, publisher of
THE LOS ANGELES TIMES, NATIONAL PUBLIC
RADIO, INC., NBCUNIVERSAL MEDIA, LLC
d/b/a NBC NEWS, THE NEW YORK TIMES
COMPANY, PRO PUBLICA, INC., TEGNA, INC.,
AND WP COMPANY LLC, d/b/a THE
WASHINGTON POST,

Proposed Intervenors.

CORPORATE DISCLOSURE STATEMENT

Pursuant to Federal Rule of Civil Procedure 7.1 and Local Civil Rule 26.1, undersigned
counsel for Cable News Network, Inc., American Broadcasting Companies, Inc. d/b/a ABC
News, The Associated Press, Buzzfeed, Inc. d/b/a BuzzFeed News, CBS Broadcasting Inc. 0/b/o
CBS News, Dow Jones & Company, Inc., publisher of The Wall Street Journal, The E.W.
Scripps Company, Gannett Co., Inc., Gray Media Group, Inc., Los Angeles Times

Communications LLC, publisher of The Los Angeles Times, National Public Radio, Inc.,
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NBCUniversal Media, LLC d/b/a NBC News, The New York Times Company, Pro Publica,
Inc., Tegna, Inc., and WP Company LLC, d/b/a the Washington Post hereby certify that:

Cable News Network, Inc., a Delaware corporation, is an indirect wholly-owned
subsidiary of AT&T Inc., a publicly traded corporation. AT&T Inc. has no parent company and,
to the best of CNN’s knowledge, no publicly held company owns 10% or more of AT&T’s
stock,

American Broadcasting Companies, Inc. d/b/a ABC News is an indirect, wholly-
owned subsidiary of The Walt Disney Company, a publicly traded corporation.

The Associated Press is a news cooperative incorporated under the Not-for-Profit
Corporation Law of New York and has no parents, subsidiaries or affiliates that have any
outstanding securities issued to the public.

Buzzfeed Inc. d/b/a BuzzFeed News is a privately owned corporation. Ten percent or
more of its stock is owned by NBCUniversal Media LLC, a wholly-owned indirect subsidiary of
Comcast Corporation, which is publicly traded. No other publicly held company owns 10% or
more of its stock.

CBS Broadcasting, Inc. is an indirect, wholly owned subsidiary of ViacomCBS Inc.
ViacomCBS Inc. is a publicly traded company. National Amusements, Inc., a privately held
company, beneficially owns the majority of the Class A voting stock of ViacomCBS Inc.
ViacomCBS Inc. is not aware of any publicly held entity owning 10% or more of its total
common stock, i.e., Class A and Class B on a combined basis.

Dow Jones & Company, Inc. (“Dow Jones’), publisher of the Wall Street Journal, is an
indirect subsidiary of News Corporation, a publicly held company. Ruby Newco, LLC, an

indirect subsidiary of News Corporation and a non-publicly held company, is the direct parent of
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Dow Jones. News Preferred Holdings, Inc., a subsidiary of News Corporation, is the direct
parent of Ruby Newco, LLC. No publicly traded corporation currently owns 10% or more of the
stock of Dow Jones.

The E.W. Scripps Company is a publicly traded company with no parent company. No
individual stockholder owns more than 10% of its stock.

Gannett Co., Inc. is a publicly traded company (NYSE: GCI). BlackRock Inc. and
Vanguard Group, Inc. are entities with more than a 10% interest in Gannett Co., Inc.

Gray Media Group, Ince. is held entirely by Gray Television, Inc., a publicly held
corporation. No entity holds 10% or more of the equity in Gray Television, Inc.

Los Angeles Times Communications LLC is a wholly-owned subsidiary of NantMedia
Holdings, LLC, which is a privately held company. No company with a 10% or greater
ownership share in NantMedia Holdings, LLC is publicly traded.

National Public Radio, Inc., a non-governmental corporate party, has no parent
company and issues no stock.

NBCUniversal Media, LLC d/b/a NBC News is indirectly owned by Comcast
Corporation, which is publicly held. No other publicly held corporation owns 10% or more of
the stock of NBCUniversal Media, LLC.

The New York Times Company, a publicly traded company, has no parent company
and no publicly held corporation owns 10% or more of its stock.

Pro Publica, Inc., a non-profit corporation, has no parent corporation and issues no
stock.

Tegna, Inc. has no parent corporation. No publicly held corporation owns 10% or more

of Tegna, Inc.’s stock.
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WP Company LLC d/b/a The Washington Post is a wholly owned subsidiary of Nash
Holdings LLC, which is privately held and does not have any outstanding securities in the hands
of the public.

These representations are made in order that judges of this Court may determine the need
for recusal.

Dated: August 3, 2021 Respectfully submitted,

BALLARD SPAHR LLP

/s/ Charles D. Tobin

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Counsel for the Press Coalition
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CERTIFICATE OF SERVICE

I hereby certify that on this 3rd day of August 2021, I caused true and correct copies of

the foregoing to be served via electronic mail and U.S. Mail on the following:

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